Case 2:21-cv-12454-MAG-KGA ECF No. 2, PageID.19 Filed 10/18/21 Page 1 of 18




                        UNITED STATES OF AMERICA
                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

TONY MAURICE WILLIAMS
              PLAINTIFF/CLAIMANT                         CASE NO
V.                                                       HON.
UNITED STATES OF AMERICA
CITY OF WARREN POLICE DEPT
DET. CRAIG BANKOWSKI
JOHN DOE

              DEFENDANTS
Amir Makled P76306
Hall Makled, PC
Attorneys for Plaintiff
23756 Michigan Ave., Suite 300
Dearborn, MI 48124
(313) 788-8888
amakled@hallmakled.com


           FIRST AMENDED COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff/Claimant Tony Maurice Williams, by and through

his attorney AMIR MAKLED of Hall Makled, PC, and in support of the instant

Complaint says as follows unto this Honorable Court:

                          GENERAL ALLEGATIONS

     1. That on April 22, 2019 Defendant Det. Bankowski and another John Doe from

        the City of Warren Police Department wrongfully seized and confiscated

        currency in the amount of $57,000.00 from Plaintiff without probable cause
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     or other legal justification. That on said date, Plaintiff was served with a

     Notice of Seizure and Intent to Forfeit Plaintiff’s lawfully possessed and

     owned currency. (Exhibit 1).

  2. That it is not known whether the City of Warren Defendant officers were

     properly assigned to federal authorities and deputized. Further, at the time of

     the seizure, it is unknown whether a federal law enforcement agency had

     advanced notice and concurred in the seizure.

  3. Thereafter, Plaintiff retained counsel and counsel’s office herein sent via

     Certified Mail written communication/demand to the City of Warren Police

     Department a demand for preservation of evidence, specifically referencing

     dash-cam and body-cam recordings taken at the time of seizure and advised

     that a FOIA request was made. (Exhibit 2).

  4. That on a date shortly after June 12, 2019, Plaintiff received from U.S. DOJ

     Drug Enforcement Agency (DEA) a Notice of Seizure of Property and

     initiation of Administrative Forfeiture Proceedings, dated June 12, 2019.

     (Exhibit 3) In response thereto, on June 18, 2019, Plaintiff filed the requisite

     Claim of Interest.

  5. That on or about June 19, 2019, Plaintiff properly and timely filed his Claim

     of Interest with the United States Department of Justice, which notified
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     Plaintiff that his claim has been properly filed and assigned tracking number

     194O-469-B09-CAA. (Exhibit 4).

  6. That on January 20, 2020, counsel herein’s office submitted via First Class

     Mail a letter to DEA’s Forfeiture Counsel requesting the status of the instant

     matter/controversy. On February 3, 2020 the Asset Forfeiture Section of the

     Office of Operations Management at DEA sent a reply stating that the matter

     has been referred to the Eastern District of Michigan. Exhibit 5.

                              JURISDICTION AND VENUE

  7. That since the instant matter is brought pursuant to 18 U.S.C. § 983 and 42

     U.S.C. § 1983, jurisdiction is proper in this court and conferred by 28 U.S.C.

     § 1331 and 28 U.S.C. § 1343(a)(3) and (4).

  8. That venue is proper before this Court pursuant to 28 U.S.C. § 1391(b)(2) as

     a substantial part of the events or omissions giving rise to the claims occurred

     in the Eastern District of Michigan.

                               COUNT I:
                   VIOLATION OF 18 U.S.C. § 983(a)(3)(B)(ii)

  9. That the Government has not instituted an action nor charged Plaintiff

     pursuant to a criminal indictment containing an allegation that the property is

     subject to forfeiture.

  10.That on several occasions, the Government sought extensions of time to toll

     the ninety (90) day statute within to file a complaint. Presently, the
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      Government is outside of the last extension. Again, Plaintiffs property was

      seized over two (2) years ago.

   11.That since the government has not filed a Complaint nor secured an extension

      to file same:

                “The Government shall promptly release the property
                pursuant to regulations promulgated by the Attorney
                General, and may not take any further action to effect
                the civil forfeiture of such property in connection with
                the underlying offense.” 18 U.S.C. § 983(a)(3)(B)

   12.That Plaintiff complied will all procedural prerequisites during the pendency

      of this matter and prior to filing the instant complaint at bar.

   13.That further, the instant seizure was not incident to an arrest, nor pursuant to

      a search warrant, a civil or criminal seizure warrant specifying currency for

      forfeiture, nor a preliminary order of forfeiture.

      WHEREFORE, Plaintiff prays that this Honorable Court ORDER the return

of Plaintiff’s proceeds together with costs, interest, and attorney fees so wrongfully

sustained.

                                  COUNT II:
                          VIOLATION OF 42 U.S.C. § 1983

   14.Plaintiff realleges word by word all the allegations contained in the preceding

      paragraphs and incorporates same by reference as is more fully set forth

      herein.
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  15.That Defendants Det. Craig Bankowski and John Doe (hereinafter “Defendant

     officers”) are and at all material times were employed by the city of Warren

     Police Department.

  16.That when the events alleged in this complaint occurred, Defendant officers

     were acting within the scope of their employment and under the color of law.

  17.That at all material times, Defendant City of Warren employed Defendant

     officers as police officers and is liable for their acts and omissions, and is also

     liable because of its policies, practices, and customs, which led to the

     violations alleged in this complaint.

  18.That on or about April 22, 2019 on Eight Mile and Ryan Rd, while operating

     a motor vehicle, Defendant officers stopped Plaintiff under the pretextual

     claim of operating his vehicle with unlawfully tinted windows.

  19.That Plaintiff, upon demand, produced his driver’s license, proof of insurance,

     and registration.

  20.The Defendant officers, through radio transmission, confirmed that Plaintiff

     was operating said vehicle lawfully. Notwithstanding, the Plaintiff was asked

     if he possessed drugs, which Plaintiff denied.

  21.The Defendant officers then demanded to search Plaintiff’s vehicle, and

     Plaintiff advised the Defendant officers that they could not search his vehicle.
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  22.The Defendant officers, without probable cause, searched Plaintiff’s vehicle

     and seized and confiscated Plaintiff’s proceeds in an amount between $52,000

     and $56,000.00 thereby violating Plaintiff’s right to be free from unreasonable

     search and seizures as guaranteed by 4th Amendment to the U.S. Constitution.

  23.That to date, Plaintiff has not been charged with a criminal offense nor

     indicted.

  24.That despite the fact that plaintiff has not committed a criminal act, Defendant

     officers,   based   on    information    and    belief,   remitted   Plaintiff’s

     proceeds/currency to agents of the U.S. Department of Justice Drug

     Enforcement Agency.

                           COUNT III:
       VIOLATION OF U.S. CONSTITUTION AMEND. IV AND XIV

  25.Plaintiff realleges word by word all the allegations contained in the preceding

     paragraphs and incorporates same by reference as is more fully set forth

     herein.

  26.That Defendant officers violated Plaintiff’s constitutionally protected Fourth

     Amendment rights, including but not limited to:

        a. The right to liberty protected in the substantive component of the Due

           Process Clause of the Fifth and Fourteenth Amendments, which

           includes freedom from unlawful detention.
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           b. The right to be free from unlawful searches and seizure and confiscation

              of his personal property, inclusive of currency, without due process of

              law.

           c. Protection for deprivation of life, liberty, and property without due

              process of law.

   27.That upon information and belief, no search warrant was obtained before

        Plaintiff’s currency was seized and confiscated.

   28.That Defendant officers were acting under color of state law when they

        wrongfully searched Plaintiff’s vehicle, seized his currency absent probably

        cause or valid search warrant.

   29.That Defendant officers, action under color of state law and in concert with

        one another, by their conducted, showed intentional, outrageous, and reckless

        disregard for Plaintiff’s constitutional rights.

   30.That as a direct and proximate results of these actions and/or policies,

        practices, and customs, Plaintiff was deprived of his constitutionally protected

        rights described above.

   WHEREFORE, Plaintiff prays that this Honorable Court Order the return of his

wrongfully seized currency, and enter a judgment against Defendants and in favor

of Plaintiff, and award Plaintiff costs so wrongfully sustained, inclusive of attorney

fees.
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                                      Respectfully submitted,


                                      /s/Amir Makled
                                      Hall Makled, PC
                                      Attorneys for Plaintiff
                                      23756 Michigan Ave., Suite 300
                                      Dearborn, MI 48124
                                      (313) 788-8888
                                      amakled@hallmakled.com


                               DEMAND FOR JURY

 Plaintiff hereby demands a trial by jury.

                                        Respectfully submitted,

                                        /s/Amir Makled
                                        Hall Makled, PC
                                        Attorneys for Plaintiff
                                        23756 Michigan Ave., Suite 300
                                        Dearborn, MI 48124
                                        (313)788-8888
                                        amakled@hallmakled.com
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                           EXHIBIT 1
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       SID-01                       NOTICE OF SEIZURE AND INTENT TO FORFEIT                                                                            04/2017

      Seizing Law Enforcement Agency:                                  Complaint1Incidenr No.:                  Date Property Seized:
      Warren Police Department                                             19-?c7(o(p                                  L(,   ?. 2   - 2c i    7
      Seizing Agency Address: LOCATION TO FILE CLAIM                   Phone Number:                            20 Day Claim ofrntcrest DEADLINE:

                                                                                                                             _1 "S8 b s·14 . -11or.:i
      29900 Civic Center, Warren Ml 48093                              586-574-4837
      Address Where Property Seized:                                   Officer In Charge (OIC):                                 OIC Phone:
        8M1i.J£         ('    MA CA-P--rM(,.)/:,_                       Det. £, f>.           r-->   !Lov-.)5 -v,; l                              :.

      _ Properfrbescription -:DESCRIBE FULLY {Make/ Modd /Serial#/ VIN/ Denomi:µation/Amo'iint ofMoney)
       Lr-,,.o..�e-          AM o <..>,-..)""f'   6';"    l.)$   C ._;,{l.P_(�"i\.>C.'-'l




      L:1CONTROLLE� SUBSTANCES A�T VIOLATIO�S
         You are hereby notified the property descnbed above was seized and are determined subject to forfeiture; it is the intent of the
         seizing agency to forfeit and dispose of the above described property according to the provisions ofMCL 333.7521, et seq. If
         you or any person with a legal interest in the property wishes to contest the seizure of the property, you MUST file a signed
         written. claim with the seizing agency at the above address within 20 days of notice (see above claim deadline). Upon receipt of
         written claim, the request will be sent to the Macomb County Prosecutor and a civil forfeiture proceeding will be filed against
         the seized property. The person claiming interest in the seized property AND his/her retained attorney may be summoned to
         appear at a civil forfeiture proceeding in the County of Macomb 16th Circuit Court. 1f an order of forfeiture is entered, the court

___
         may order a person who claimed an interest to pay the expenses of the civil forfeiture proceedings to the seizing agency. Failure
         to file a claim of interest within 20 days shall cause the above listed property to be declared forfeited and disposed of


      □                          □
         according to law.

          GAMBLING                 PROSTITUTION (Accosting & Soliciting) LAW VIOLATIONS
        You are hereby notified that it has been determined that the property described above is subject to forfeiture. If you or any person with a legal
        interest in the property wishes to contest the seizure of the above described property, you must file a written claim with the seizing agency at


      □
        the above address after receipt of notice. You may be required to post a bond.

          GENERAL FORFEITURE "OMNIBUS" ACT
         You are hereby notified that it has been determined that the property described above is subject to forfeiture pursuant to MCL 600.4701 et. seq.
         lfyou or any person with a legal interest in the property wishes to contest the seizure of the above described property, you must file ,,vrittena
         claim with the seizing agency at the above address after receipt of notice.

       IMMEDIATELY UPON receiving this Notice of Seizure and Intent to Forfeit the OWNER of the above listed property MUST
       contact the Warren Police Special Investigations Division O.I.C. (see above) or 586-574-4837 and the OWNER may enter into an
       out-of-court consent agreement to reclaim seized property without delay. An out-of-court consent agreement acceptable payment is
       CASH ONLY exact change and payable at the Warren Police Department (2nd Floor) Special Investigations Division Monday­
       Friday (excluding holidavs) 8:00 am - 2:30 pm. In addition, the OWNER IS RESPONSIBLE to pay all accrued .towing and storage fees
       and MUST be present to retrieve vehicle at (independently owned) tow yard. Failure to file claim of interest OR enter an out-of
       court consent agreement shall cause the listed property to be declared forfeit and disposed of according to law.

      PROOF OF SERVICE
      I served a co of the Notice of Seizure and Intent to Forfeit u on:
      Person Served                                         Date Person Served                             How Notice is served:   X In Person
      T0,�---i i\A.p.u,�\Ct.. lA)11...L.1AM"S·                '-\-·2.'2.-"1...c'.H'}                        □   News Publication       Certified Mail
       Address (Number & Streel) of Person Served:                  Citv                                   Stale               Zip code
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       Name of Server                                               Date Signed
       t>o                                                             Y•    l. "2 • "l.C t          1
       COPY ONE: Signed 1;,y Server und served to defondani:
       COPY TWO: OICFile
       A controlled substance seizure and forfeiture is a CIVIL proceeding and SEPARATE from related criminal proceeding
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                           EXHIBIT 2
                  Case 2:21-cv-12454-MAG-KGA ECF No. 2, PageID.30 Filed 10/18/21 Page 12 of 18



                        CYRIL C. I-L\U,
                        AMIR I. MAKLED         HALL MAKLED, P.C.                                       CYRIL C. HALL
                                                                                                       DIRECT: (248) 431-4890
                        DANIELE. MAKLED             ATTORNEYS AND COUNSELORS AT LAW


                                                        23756 MICHIGAN AVENUE, SUITE 300
                                                               DEARBORN, I\1I 48124
                                                             TELEPHONE 313-788-8888
                                                              FACSIMILE: 313-582-7962

                                                                   MAY1,2019
                       Via: Certified Mail

                       Warren Police Department
                       29900 Civic Center
                       Warren, MI 48093

                                               Re:                             Tony Maurice Williams
                                               Complaint/Incident:             19-20766

                                           DEMAND FOR PRESERVATION OF EVIDENCE


                       Dear Sir or Madam

                               Please be advised that I have been retained to represent Mr. Tony Williams with regards
                       to the seizure that occurred on April 22, 2019 and associated with the above Complaint/Incident
                       number. Please accept this letter as a DEMAND TO PRESERVE all evidence, including all
                       dash-cam and body-cam recordings taken at the time of the seizure. Note that a FOIA
                       requesting said evidence has been submitted via the City of Warren's online FOIA submission
                       form.

                                If you have any questions or concerns please feel free to contact my office.


                                                                       Very Truly Yours,


                                                                       Cyril C. Hall

HALL MAKLED, P,C,
   Attorneys and
  Counsdois at Law
 23756 Michigan Ave.
      Suite300
    Dearbom,MI
       48124
   (313) 582-7930
 FAX (313) S82-7962




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                           EXHIBIT 3
              Case 2:21-cv-12454-MAG-KGA ECF No. 2, PageID.32 Filed 10/18/21 Page 14 of 18
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                                                                                          U.S. Department of Justice
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    1l                                                                                    Drug Enforcement Administration
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Tony Maurice Williams
21468 Redmond Avenue
Eastpointe, MI 48021

                         NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                            ADMINISTRATIVE FORFEITURE PROCEEDINGS
                                     SEIZED PROPERTY IDENTIFYING INFORMATION
                   Notice Date: June 12, 2019                      IAsset lD Number: 19-DEA-651165
                   Notice Letter ID: 98814 (use ID when searching for assets during online filing)
                   Description of Seized Property: $57,000.00 U.S. Currency

                   Seizure Date and Location: The asset(s) referenced in this notice letter were seized on April 22, 2019 by
                   the DEA at Warren, Michigan.
                   Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 21 USC 881 and the
                       followina additional federal laws: 19 U.S.C. !SIS 1602-1619 18 U.S.C. IS 983 and 28 C.F.R. Parts 8 and 9.

I.      THE GOVERNMENT MAY CONSIDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS
        ALL OR PART OF THE PROPERTY FROM THE FORFEITURE.

        TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

        A. What to File: You may file both a claim (see section II below) and a Petition for Remission or Mitigation (Petition).
           If you file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
        B. To File a Petition: A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial
           Delivery Service to the Drug Enforcement Administration (DEA), Forfeiture Counsel, Asset Forfeiture Section 8701
           Morrissette Drive, Springfield, VA 22152. It must be received no later than 11:59 PM EST thirty (30) days of your
           receipt of this Notice. See 28 C.F.R. Parts 8 and 9.
        C. Requirements for Petition: The petition must include a description of your interest in the property supported by
           documentation and any facts you believe justify the return of the property and be signed under oath, subject to the
           penalty of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. §
           1746.
        D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file
           the petition online are available at https://www.forfeiture.gov/FilingPetition.htm. If you wish to file a petition online for
           the assets referenced in the asset list of this letter, please use the Notice Letter ID referenced above.
        E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or
           bank records showing your interest in the seized property) to substantiate your petition.
        F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to
           represent you in filing a petition.
        G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Forfeiture Counsel. The
            ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset Recovery Section, Criminal
            Division, Department of Justice. See 28 C.F.R. § 9.1.
        H. Regulations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
            available at www.forfeiture.gov.
        I. Penalties for Filing False or Frivolous Petitions: A petition containing false information may subject the
            petitioner to criminal prosecution under 28 U.S.C. § 1001 and 28 U.S.C. § 1621.
        J. Online Petition Exclusions: If you cannot find the desired assets online, you must file your petition in writing at the
            address listed above. For more details regarding what assets can be petitioned online, please see the Frequently
            Asked Questions at https://www.forfeiture.gov/FilingPetitionFAQs.htm.
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                           EXHIBIT 4
                 Case 2:21-cv-12454-MAG-KGA ECF No. 2, PageID.34 Filed 10/18/21 Page 16 of 18
                                                                                           6/19/19, 4:14 PM




• IBE UNITED STATES DEPARTMENT oflUSTfCE



     Your Claim Has Been Filed

                 Filing Information
                 Your claim, tracking number: 194O-469-B09-CAA, has been filed at 4:13:48 PM EST on Wednesday, June 19, 2019. You will get a confirmation email
                 to your registration email address once the appropriate agency or agencies receive it. Please print this Pfilje for your records.

                  If you did not receive a confirmation email for the claim you filed, then please visit Cialm Freqyentty Asked Questions
                 .(h!tQs"//www forfeiture g o\/LElllngClajmFAQs.htm). and look under the technical problems question for more information.
                 Be aware that filing an onllne claim does not make your filing valid. Your claim will be ruled on by the appropriate agency or agencies and a response
                 will be provided to you via U.S. mail.

                 You may use your email address and tracking number to log back in and view and/or print your filed form until Saturday, June 29, 2019.

                 Amendments
                 If you wish to file an amendment to your filed claim, you must provide your documentation and a written explanation to the appropriate agency via U.S.
                 mail. The agency mailing address can be found at h!!Ps·/twww.forfeiture.gov/FillngClalm.htm (!]!!Ps://w ww.forfeiture.gov/FilingClaim.htm),.




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1ttps://ocp.forfeiture.gov/OnlineClaimsPetitlons/receipt                                                                                                                  Page 1 of 1
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                           EXHIBIT 5
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                                                    U.S. Department of Justice
                                                    Drug Enforcement Administration




 www.dea.gov                                        February 3, 2020




 Cyril Hall, Esq.
 Hall Makled, P.C.
 23756 Michigan Avenue, Suite 300
 Dearborn, MI 48124

 RE:    DEA Case No.:        17-17-0163
        Asset I.D. No.:      19-DEA-651165
        Property:            $57,000.00 U.S. Currency
        Judicial District:   Eastern District of Michigan
        Claimant:            Tony Williams

 Dear Mr. Hall:

 The Drug Enforcement Administration (DEA) has received the submission regarding the above­
 referenced asset(s). The following information is provided:

 The submission has been referred to the judicial district noted above. Please direct all inquiries
 regarding this matter to that office.

 Further correspondence to DEA regarding this matter must reference the DEA case and asset
 identification numbers noted above and must be addressed to the Forfeiture Counsel, Drug
 Enforcement Administration, Asset Forfeiture Section, 8701 Morrissette Drive, Springfield, Virginia
 22152. Correspondence will be·deemedfiled (or submitted) on the business date it is actually
 received by the Forfeiture Counsel at the address listed above. Correspondence will nofbe
 accepted nor considered filed on weekends or federal holidays, or when it is received by any
 other office or official, such as a court, United States Attorney's Office, or local DEA office. In
 addition, a Claim or Petition is not considered filed or submitted if received by facsimile
 transmission. Finally, correspondence is not considered filed or submitted on the date it is mailed or
 delivered to any person for delivery to the Forfeiture Counsel.

 Sincerely,



  sse
 Office of Operations Management
